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                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                  TAMPA DIVISION



TEMPUR-PEDIC NORTH AMERICA,
LLC, TEMPUR-PEDIC MANAGEMENT,
LLC, and DAN-FOAM APS,

              Plaintiffs,

v.                                                           Case No. 8:18-cv-2147-T-33SPF

MATTRESS FIRM, INC.,
THER-A-PEDIC ASSOCIATES, INC.,
SINOMAX GROUP LIMITED, and
SINOMAX USA INC.,

              Defendants.
                                          /
                                           ORDER
       This cause comes before the Court upon Plaintiffs’ Motion for Preliminary Injunction

(Doc. 8), which the district judge referred for an evidentiary hearing and the issuance of a

Report and Recommendation (Doc. 12). After consideration, it is hereby

       ORDERED:

       1. Plaintiff’s Motion for Preliminary Injunction (Doc. 8) shall be heard on September

           25, 2018, at 2:00 p.m., 1 in Courtroom 11B of the Sam M. Gibbons United States

           Courthouse, 801 North Florida Avenue, Tampa, Florida. In accordance with

           Middle District of Florida Local Rule 4.06(b), the hearing will be limited to the

           argument of counsel. The Court sets aside no more than four (4) hours for the

           hearing.


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         To the extent that the parties require additional time prior to the hearing, they may
jointly move for a new hearing date
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       2. On or before, September 10, 2018, Plaintiffs are directed to serve upon Defendants

           a copy of this Order and, to the extent it has not already done so, the Complaint

           (Doc. 1) and the Motion for Preliminary Injunction (Doc. 8).

       3. No later than September 17, 2018, Defendants must file with the Court and deliver

           to the moving party, all counter or opposing affidavits, and responsive brief

           pursuant to Local Rule 4.06.

       4. Upon review of Defendants’ responsive brief, the Court will determine whether an

           evidentiary hearing, as opposed to a hearing limited to the arguments of counsel,

           is necessary in this case. 2

       5. All parties are directed to strictly comply with the procedures set forth in Local

           Rule 4.06.

           DONE AND ORDERED in Tampa, Florida, on this 4th day of September 2018.




cc:    Counsel of Record,
       Defendants, pro se




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         “While an evidentiary hearing is not always required before the issuance of a
preliminary injunction, ‘where facts are bitterly contested and credibility determinations must
be made to decide whether injunctive relief should issue, an evidentiary hearing must be
held.’” Four Seasons Hotels & Resorts, B.V. v. Consorcio Barr, S.A., 320 F.3d 1205, 1211 (11th
Cir. 2003) (citing McDonald's Corp. v. Robertson, 147 F.3d 1301, 1312 (11th Cir.1998)).
